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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 RAYMOND C. WILLIAMS,

        Petitioner,                                                  ORDER
 v.
                                                             Case No. 22-cv-567-wmc
 STATE OF WISCONSIN,

        Respondent.


       Petitioner Raymond C. Williams seeks a writ of habeas corpus pursuant to 28 U.S.C.

§ 2254. Petitioner has neither paid the $5 filing fee nor requested leave to proceed without

prepayment of the filing fee. For this case to move forward, petitioner must pay the $5 filing

fee or submit a properly supported motion for leave to proceed without prepayment of the

filing fee no later than November 3, 2022.       Any motion for leave to proceed without

prepayment of the filing fee must include a certified copy of an inmate trust fund account

statement (or institutional equivalent) for the six-month period beginning approximately April

5, 2022 through the date of the petition, October 5, 2022.




                                          ORDER

       IT IS ORDERED that:

              1.      Petitioner Raymond C. Williams may have until November 3, 2022, to

pay the $5 filing fee or submit a properly supported motion for leave to proceed without

prepayment of the filing fee.
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       2.     If petitioner does not submit either the $5 payment or a motion for leave to

proceed without prepayment before November 3, 2022, I will assume that petitioner wishes to

withdraw this petition.




              Entered this 12th day of October, 2022.

                                  BY THE COURT:


                                   /s/
                                   STEPHEN L. CROCKER
                                   Magistrate Judge
